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Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 1 of 8

IN THE DISTRICT COURT IN AND FOR OKMULGEE COUNTY

STATE OF OKLAHOMA
SEAN DOUGLAS BIRNIE, an )
individual, )
Plaintiff, )
) -
VS. ) Case No. GJ 2020-065 .
) tee
RICHARD S. GANZER, an individual, ) Jury Trial Demanded
SERVICE STEEL WAREHOUSE CO., ) .
a foreign entity, ) Attorney Lien Claimed
TRAVELERS INSURANCE CO., )
a foreign entity, ) IN DISTRICT COURT
RYDER TRUCK RENTAL, INC., )
a foreign entity ) APR 23 2020
) OKMULGEE COUNTY, OKLAHOMA
Defendants. ) CHARLY CRINER, Court Clerk

By Deputy

PLAINTIFF’S ORIGINAL PETITION

Plaintiff, Sean D. Birnie, through his attorneys, asserts claims against Defendants Richard
Ganzer, Service Steel Warehouse Co., Travelers Ins. Co., and Ryder Truck Rental Co. In support
of his claims against Defendants, Plaintiff states and alleges as follows:

I, JURISDICTION AND VENUE

1. This is an action for negligence and personal injuries to Sean D. Birnie, following
a motor vehicle collision in Okmulgee County.

2. Plaintiff Sean D. Birnie is a citizen of the State of Oklahoma and resides in
Checotah, Oklahoma.

3. Based on information and belief, Defendant Richard S. Ganzer is a resident of
Keller, Tarrant County, Texas. At the material time, Defendant Ganzer (as either an employee or
agent of Service Steel Warehouse Co. or the Ryder Truck Rental Co.) was the at-fault driver that

operated the truck that caused the accident at issue, which injured Plaintiff.
Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 2 of 8

4. Based on information and belief, Defendant Service Steel Warehouse Co.
(“Service Steel”) is a foreign entity incorporated and headquartered in Houston, Harris County,
Texas. Defendant Service Steel is a carbon structural steel distributor serving customers in the
United States and internationally. Defendant Service Steel ships steel across the United States and
internationally.

5. Based on information and belief, Defendant Ryder Truck Rental, Inc. (“Ryder”) is
a foreign entity incorporated and headquartered in Miami, Dade County, Florida. Defendant Ryder
provides transportation and supply chain management products and owns and operates a fleet of
rental trucks. Defendant Ryder also provides fleet management, supply chain management and
contracted carriage services.

6. Based on information and belief, Defendant Travelers Insurance Co. (“Travelers”)
is an American insurance company headquartered in New York. At the material time, Defendant
Travelers was Defendant Service Steel’s insurance carrier and provided insurance coverage to
Defendants Service Steel and Ganzer. Based on information and belief, Defendant Service Steel
held an Oklahoma motor carrier license, and therefore, has an insurance policy on file with the
Oklahoma Corporation Commission. Thus, Defendant Service Steel and its insurer Defendant
Travelers are jointly liable to Plaintiff and Plaintiff has the right to sue Defendant Travelers
directly. See 47 O.S. §230.30(A).

7. The relevant facts leading to this action occurred in Okmulgee County, State of
Oklahoma. As a result, venue is proper with this Court. See 12 O.S. §139.

8. Subject matter and personal jurisdiction is proper in this Court under Okla. Const.
art. 7, §7 (granting district courts of this state unlimited general jurisdiction over all matters

sounding either in law or equity) and 12 O.S. §2004(F) (authorizing courts of this state to exercise
Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 3 of 8

jurisdiction on any basis consistent with the Constitutions of the United States and Oklahoma).
The amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00).

9. This Court has personal jurisdiction over Defendant Richard Ganzer because he
committed a tort (that is the subject of this suit) within the State of Oklahoma. At the material time,
Defendant Ganzer was an agent of either or both Defendants Service Steel and Ryder and he was
acting within the course and scope of his agency when he committed the tort at issue. Thus, on the
basis of an agency relationship between the tortfeasor Defendants Ganzer and/or Service Steel and
Ryder, this Court can exercise personal jurisdiction over those two principals. Moreover, the Court
has personal jurisdiction over Defendant Ryder because it has an office in this State from which it
conducts business. Based on information and belief, this lawsuit is based on the very activities that
it conducts in this State.

10. The Court also has personal jurisdiction over Defendant Travelers because it had a
vicarious/agency relationship with Defendant Service Steel, whom Defendant Richard Ganzer was
its agent when he committed the tort at issue in Oklahoma.

II. OPERATIVE FACTS

11. All preceding paragraphs are incorporated herein, as though stated below verbatim.

12. On May 1, 2018, at about 9:30 AM, Plaintiff and a work colleague were working
on US Highway 75 north of its intersection with State Highway 16 in Okmulgee County,
Oklahoma.

13, At the time, Plaintiff worked full-time as a maintenance person for the Oklahoma
Department of Transportation (ODOT), in the highway maintenance division. In that role, Plaintiff

was responsible for repairing or replacing signs and other highway implements.
Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 4 of 8

14. At the time of the incident, Plaintiff and his colleague were inside their ODOT work
vehicle traveling north on US 75. Plaintiff was a passenger in the ODOT vehicle. Just south of
Hastings Rd., Plaintiff and his driver were in the outside (slow) lane preparing to stop and conduct
work-related activities. A semi-truck operated by Defendant Richard Ganzer, on behalf of either
Defendant Service and/or Defendant Ryder, ran straight into the rear of the ODOT vehicle
occupied by Plaintiff and his colleague at high speed without slowing or seeming to take any
evasive actions. The impact from the collision caused the ODOT vehicle to slide broadside
approximately 180 feet before striking a ditch. The impact further caused the ODOT vehicle to
slide and move approximately another 9 feet and then it struck a road sign, moved a further
approximately 38 feet, overturned, before finally resting on its wheels.

15. Plaintiff was ejected out of the ODOT vehicle and suffered serious injuries.

16. At the material time, Defendant Ganzer was operating within the course and scope
of his employment/or agency for Defendants Service Steel, Travelers and/or Ryder.

17. Based on information and belief, Defendant Travelers insured Defendants Ganzer
and Service Steel at the time of the collision.

18. Defendant Ganzer operated his semi-truck and trailer at a high speed in excess of
the applicable speed limit and took no affirmative acts, prior to the collision, to avoid the collision
or to stop. In fact, the incident scene had no visible tire marks before impact, which raises the
inference that Defendant Richard Ganzer, although aware of the risk of serious harm and injury
his speeding vehicle posed to occupants of the vehicle itself, took no steps to stop, slow down or

to prevent the collision.

19. From the resulting impact in the collision, and as noted, Plaintiff sustained serious

personal physical, mental and economic injuries.
 

Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 5 of 8

20. For his injuries and damages suffered as a proximate result of Defendants’ tortious
conduct, Plaintiff seeks recourse and relief from this Court.
Ill. CAUSES OF ACTION
A. Negligence (common law)
Against all Defendants
21. All preceding paragraphs are incorporated herein, as though stated below verbatim.

22. The injuries sustained by Plaintiff are a direct and proximate result of the

negligence of Defendants. The acts and omissions complained of include, but are not limited to:

a. Defendant Ganzer failed to operate his vehicle in a careful and prudent
manner; and
b. Defendant Ganzer took no affirmative acts, within a timely fashion, to

prevent the collision;

23. At the material time, Defendant Ganzer was an employee and/or agent and
operating within the course and scope of his employment/or agency for Defendants Service Steel,
Travelers and/or Ryder for which Defendants are liable under the legal doctrine of respondeat
superior.

24. Asa direct and proximate result of Defendants’ negligence, Plaintiff has suffered
severe personal injuries and damages.

25. Plaintiff is entitled to damages for physical and mental pain and suffering, past and
future; any physical impairment or disfigurement; impairment of earning capacity; reasonable
expenses of the necessary medical care, treatment and services, past and future, all in excess of
Seventy-Five Thousand Dollars ($75,000.00).

B. Negligence per se
(Against all Defendants)

26. _ All preceding paragraphs are incorporated herein, as though stated below verbatim.
Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 6 of 8

27. The injuries sustained by Plaintiff are a direct and proximate result of negligence
per se. The acts and omissions complained of include, but are not limited to the following:

a. Defendant Ganzer was driving in excess of the speed limit imposed for that
particular portion of the road, and in doing so, his actions constituted an
immediate hazard that caused the injuries complained of herein. As outlined
herein, Defendant Ganzer’s conduct amounted to a clear violation of Oklahoma
law and Rules of the Road that was designed to benefit and protect innocent
road users like Plaintiff in circumstances such as those applicable in this case.
See, e.g. 47 O.S. §11-801.

b. Defendant Ganzer failed to take any affirmative acts, within timely fashion, to
prevent the collision or to stop, as Oklahoma law requires under these
circumstances. In doing so, Defendant Ganzer’s actions constituted an
immediate hazard that caused the injuries complained of herein. As outlined
herein, Defendant Ganzer’s conduct amounted to a clear violation of Oklahoma
law and Rules of the Road that was designed to benefit and protect innocent
road users like Plaintiff in circumstances such as those applicable in this case.
See, e.g. 47 O.S. §11-310; 47 OS. §11-901b.

c. Defendant Ganzer failed to maintain a proper lookout and devote full-time
attention and maintain appropriate distance from other vehicles, while operating
a fast-moving semi-truck on Oklahoma roads, as Oklahoma law requires under
these circumstances. In doing so, Defendant Ganzer’s actions constituted an
immediate hazard that caused the injuries complained of herein. As outlined
herein, Defendant Ganzer’s conduct amounted to a clear violation of Oklahoma
law and Rules of the Road that was designed to benefit and protect innocent
road users like Plaintiff in circumstances such as those applicable in this case.
See, e.g. 47 O.S. §11-310; 47 O.S. §11-901b.

28. As a direct and proximate result of Defendants’ negligence per se, Plaintiff has
suffered personal injuries and damages, as well as incurred expenses for medical care.

29. At the material time, Defendant Ganzer was an employee and/or agent and
Operating within the course and scope of his employment/or agency for Defendants Service Steel,
Travelers and/or Ryder.

30. Plaintiff is entitled to damages for physical and mental pain and suffering, past and

future; any physical impairment or disfigurement; impairment of earning capacity; reasonable
 

 

Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 7 of 8

expenses of the necessary medical care, treatment, and services, past and future, all in excess of
Seventy-Five Thousand Dollars ($75,000.00).

C. Negligent entrustment
(Against Service Steel Warehouse and Ryder Truck Rental)

31. All preceding paragraphs are incorporated herein, as though stated below verbatim.

32. Defendants Service Steel and/or Ryder own or had possession and control of the
truck Defendant Ganzer was operating on the material day. Thus, the two corporate Defendants
were in a joint venture or affiliated in the operation and control of the truck at issue. Alternatively,
to the extent that Defendant Ryder owns the truck entirely, it negligently entrusted the operation
and/or transportation of its truck and/or trailer to Defendants Service Steel and/or Ganzer.

33. Defendants Service Steel and/or Ryder allowed Defendant Ganzer to operate the
truck involved in the collision on the material day.

34. Defendants Service Steel and/or Ryder knew or reasonably should have known that
Defendant Ganzer was careless, reckless and incompetent and either or both Defendants permitted
Defendant Ganzer to operate the truck.

35. As a proximate result of Defendants Service Steel and/or Ryder’s conduct, as
outlined in this pleading, injuries to Plaintiff were caused by Defendant Ganzer’s careless and
reckless driving of the truck.

IV. RELIEF REQUESTED
Plaintiff seeks relief against Defendants as follows:
A. Judgment in favor of Plaintiff for compensatory and actual damages against

Defendants on all claims alleged herein;

B. Judgment in favor of Plaintiff for Punitive damages against Defendants on all

claims which such kind of exemplary relief can be awarded; and
Case 5:21-cv-00205-HE Document 1-1 Filed 03/11/21 Page 8 of 8

C. Judgment in favor of Plaintiff against Defendants for the costs of this action
(including attorneys’ fees for eligible claims) and interest as provided by law, and for all other and

further relief that this Court deems just and proper.

 
   
  

Respectfully bmitted,

BREWSTER & DE

  
  

 

  
 
 

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